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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

INTERACTIVE GAMES LLC,                       )
                                             )
                     Plaintiff,              )
       v.                                    )     C.A. No. 19-1105 (RGA)
                                             )
DRAFTKINGS, INC.,                            )
                                             )
                     Defendant.              )

     DEFENDANT DRAFTKINGS, INC.’S RULE 7.1 DISCLOSURE STATEMENT

              Pursuant to Fed. R. Civ. P. 7.1, Defendant DK Crown Holdings Inc. (formerly

DraftKings Inc.), a Delaware corporation (“DraftKings”), by and through the undersigned

attorneys, makes the following disclosure:   DraftKings is a wholly-owned subsidiary of

DraftKings Inc., a Nevada corporation.


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                                                 /s/ Rodger D. Smith II

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February 3, 2023




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                                  CERTIFICATE OF SERVICE

                I hereby certify that on February 3, 2023, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send notification of

such filing to all registered participants.

                I further certify that I caused copies of the foregoing document to be served on

February 3, 2023, upon the following in the manner indicated:

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